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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                     No. CR-18-00766-PHX-GMS
10                        Plaintiff,               FINDINGS AND RECOMMENDATION
                                                   OF THE MAGISTRATE JUDGE UPON
11   v.                                            A PLEA OF GUILTY AND ORDER
12   Carlos Antonio Gutierrez-Valenzuela,
13                        Defendant.
14
15            TO THE HONORABLE G. MURRAY SNOW, UNITED STATES DISTRICT
16   JUDGE:
17            Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the
18   Federal Rules of Criminal Procedure, this matter came on for hearing before United
19   States Magistrate Judge Bridget S. Bade on June 4, 2018, with the written consents of
20   Defendant, counsel for Defendant, and counsel for the United States of America.
21            The Magistrate Judge accepted Defendant’s waiver of indictment after inquiring
22   about Defendant’s understanding of the right to prosecution by indictment. Defendant’s
23   written waiver constitutes a part of the plea agreement that was lodged with the Court.
24            The hearing on Defendant’s plea of guilty was in full compliance with Rule 11,
25   Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on
26   the record. In consideration of that hearing and the statements made by Defendant under
27   oath, on the record, and in the presence of counsel, and the remarks of the Assistant
28   United States Attorney and of counsel for Defendant,
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 1           I FIND as follows:
 2           (1) that Defendant understands the nature of the charge against him to which the
 3   plea is offered and the elements of the offense to which he is pleading guilty;
 4           (2) that Defendant understands the rights to trial by jury, to plead not guilty, or
 5   having already so pleaded, to persist in that plea, to the assistance of counsel at trial and
 6   at every other stage of the proceedings, to confront and cross-examine adverse witnesses,
 7   to present evidence, to compel the attendance of witnesses, and the right against
 8   compelled self-incrimination;
 9           (3) that Defendant understands the maximum possible penalty for the offense to
10   which he is pleading guilty, including imprisonment, fine and supervised release, any
11   mandatory minimum penalty, any applicable forfeiture, the effect of the supervised
12   release term, and the Court’s authority to order restitution and its obligation to impose a
13   special assessment;
14           (4) that Defendant understands the Court’s obligation to calculate the applicable
15   sentencing guideline range and to consider that range, possible departures under the
16   Sentencing Guidelines, and other sentencing factors under 18 U.S.C. § 3553(a); and that
17   Defendant understands that the sentencing guidelines are advisory, not mandatory, and
18   that the Court may sentence outside those guidelines;
19           (5) that Defendant knowingly and voluntarily pleaded guilty and that his plea is
20   not the result of force or threats or of promises apart from the plea agreement between the
21   parties;
22           (6) that Defendant is competent to plead guilty;
23           (7) that Defendant understands that his statements under oath may later be used
24   against him in a prosecution for perjury or false statement;
25           (8) that Defendant understands that by pleading guilty he waives the right to a
26   jury trial;
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 1          (9) that Defendant understands the terms of any plea agreement provision waiving
 2   the right to appeal or to collaterally attack the sentence, and has knowingly, intelligently
 3   and voluntarily waived those rights;
 4          (10) that Defendant is satisfied with counsel’s representation; and
 5          (11) that there is a factual basis for Defendant’s plea.
 6          I RECOMMEND that the Court accept the Defendant’s plea of guilty.
 7          IT IS ORDERED that any objection to the guilty plea proceedings and any
 8   request for supplementation of those proceedings be made by the parties in writing and
 9   shall be specific as to the objection or request made. All objections or requests for
10   supplementation shall be filed within fourteen (14) days of the date of service of a copy
11   of these findings unless extended by an Order of the assigned district judge.
12          IT IS FURTHER ORDERED that any letters, documents, or other matters
13   Defendant would like the District Judge to consider before sentencing (including the
14   English translation of any writings not in English) must be submitted in paper form with
15   the original to the probation office and copies to the District Judge and opposing counsel
16   no later than five (5) business days prior to the sentencing date or they may be deemed
17   untimely by the sentencing judge and not considered. No more than ten (10) character
18   letters shall be submitted by defense counsel, unless otherwise ordered by the Court.
19   Character letters shall not be mailed directly to the District Judge by any family members
20   or other persons writing in support of Defendant. Character letters or a notice of service
21   of such letters shall not be filed electronically unless otherwise ordered by the Court.
22          IT IS FURTHER ORDERED that any motions for upward or downward
23   departures or any sentencing memoranda must be filed at least seven (7) business days
24   prior to the sentencing date. Responses are due three (3) business days prior to the
25   sentencing date.    Any motion to continue sentencing must be filed promptly upon
26   discovery of the cause for continuance and must state the cause with specificity. Motions
27   to continue sentencing filed less than fourteen (14) days before sentencing are disfavored.
28          Dated this 4th day of June, 2018.


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